  Case 2:20-cr-00326-JFW Document 121 Filed 12/07/20 Page 1 of 2 Page ID #:1297



                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

 iJNIT'ED STATES OF AMERICA,                                          CASE NUMBER:

                                      PLAINTIFF,                           CR20-326(A)-JFW                       2
                             v.
 RAYMOND SHE WAH CHAN,
                                                                        WARRANT FOR ARREST
                                      DEFENDANTS)

 To:     UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STA:~ES OFFIC~Z
                                                            .~         ~-,
                                                            3 ..a, .~-
 YOU ARE HEREBY COMMANDED to arrest RAYMOND SHE VYAI~~C~I
 and bring him forthwith to the nearest Magistrate Judge to answer an I di~~tt1aent
 charging him with RICO Conspiracy, in violation of Title 18, United at~s ~ode~                                        ~'
                                                                                                                       ~__..
 Section 1962(d), Wire Fraud through Deprivation of Honest Services, n valatior~of
 Title 18, United States Code, Sections 1343 and 1346, Federal Progra Bribery, m
 violation of Title 18, United States Code, Section 666(a), and False St,tents, ifs"
 violation of Title 18, United States Code, Section 1001(a)(2).




 Kiry K. Gray                     '~~Es o+s rR~
                                               oT
 NAME OF ISSUING OFFICER                                               November 12, 2020          Los Angeles, CA
                                                ~O
                                                 G
 Clerk of Court
 TITLE OF ISSUING OFFICER                                              DATE AND LOCATION OF ISSUANCE
                                                     Q
                                                    ~
                                                    2
 Dion D. Mitchell                              ~~/              ~y: PAUL L. ABRAMS
 SIGNATURE OF DEPUTY CLERK                                             NAME OF NDICIAL OFFICER

                                                    CC7 x1 ~1]:i►`i

 THIS WARRANT WAS RECENED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT (LOCATION)




  Il~ I-ZI-,.vz0
 DA             D                                                     NAME OF ARRESTING OFFICER

   ~ Z ~ of ~'tuZO                                                    m̀il.e c~o..l ~ c ..y.
                                                                                           T~`
 DATE OF ARREST                                                        TI E



 DESCRIPTIVE INFORMATION FOR DEFENDANT                                  GNAT[7IZE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




CR-12 (08/10)                            WARRANT FOR ARREST                                              Page 1 of 2
  Case 2:20-cr-00326-JFW Document 121 Filed 12/07/20 Page 2 of 2 Page ID #:1298



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                            CASE NUMBER:

                                           PLAINTIFF,                         CR20-326(A)-JF W                         2
                                 v.
 RAYMOND SHE WAH CHAN,
                                                                          WARRANT FOR ARREST
                                           DEFENDANTS)

                                ADDITIONAL DEFENDANT INFORMATION

 RACE:            SEX:         HEIGHT:           WEIGHT:    HAIR:          EYES:         OTHER:


 YEAR OF BIRTH:                PLACE OF BIRTH:              SOCIAL SECURITY NO.:         DRNER'S LICENSE     [SSUING
                                                                                         NO.                 STATE
             1956
 A[.IASES:                     SCARS,TATTOOS OR OTHER DISTINGUISHING MARKS:


 AUTO YEAR:       AUTO MAKE:   AUTO MODEL:                  AUTO COLOR:                  AUTO LICENSE NO.:   ISSUING


                                                                                                             STATE


 LAST KNOWN RESIDENCE:                                      LAST KNOWN EMPLOYMENT:




 FBI NUMBER:


 ADDITIONAL INFORMATION:




 INVESTIGATIVE AGENCY NAME:                                I INVESTIGATIVE AGENCY ADDRESS:

                           FBI
NOTrs:




CR-12(08/10)                                      WARRANT FOR ARREST                                           Page 2 of2
